Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 1 of 60 PagelD #: 307

 

Ca Oot TaT-tot are aa lt]
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 2 of 60 PagelD #: 308

Chats (4)

Hi what's up

What's up?
(-] Photo Received
Hello

Hey | miss you!
Do you think we could try bb
Watching Texas Rising

You'd think everything would be Jun t
electronic by now

Can't believe places do t have apps

for that sorta stuff

You should come to my place

tomorrow and we can fuck

Hey

Hay

I'm kinda just looking for some fun
Dates. Friends

Me neither. What brings you on

“
$

Hey. how's it going

Mossage re when you're on again

 

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 3 of 60 PagelD #: 309

WiEI(ol ame!

| was so bummed

| know. | was so bummed >
out when you weren't back
on

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 4 of 60 PagelD #: 310

   
   
     

; We need to do. that agaits
zn Gime oem
nee eer Great wb

Great too. And | was just
thinking that

Let me see your dick again

et

      

 
    
   
   
    

So, when are we gonna do it
again?

  

 

; And do you have a snapchat eis
ie or a kik? en
Rite
| Hopefully this or next 2
|} weekend == te

Would you be alone
tomorrow?

    
    

You know I|'m never alone
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 5 of 60 PagelD #: 311

Nothing for me tomorrow,
that's why | asked if you'd

 

Mitzigwig ie]

Do t risk getting caught or
anything.

lum So, do you have a Kik?
Or a snapchat?

It might be good in case this

mee ante winivd vwiliah it

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 6 of 60 PagelD #: 312

   
 
      
  
  
    
 
     
       
       

ite Fine
Tete es :
PR ae’ aes
a
* : . . rene tee Sop
my It might be good in case this se Se ee,
SS oe ee SON et app gets weird, which it Nr pain
tome I emia i —— aa =
om we te tends to do, haha Slee
ave ~ Man. Sag, Sy z
to te ag eee “tie Sn ees
we a, rece. sa
= % zy vem nails oe ap ge a
ae Te eee man sl eee s
“T Raalargss « . sor aaa

& Shan
Rent RRE * Say,

hes <8 tmnt ae ERIN, E Pie =
seaneenhicc 5 Cool Pig
Pepe a = ; fh con Nee 0e :

mocbipng - “|
ern

= ~

we =f

ie nail 4
PE ENO F5

cee re Nottie

shin Simei: Se ;

ee: - Tome $

Tenge seen,

om
As. ty
lege Teta

Sree
Peele ee PST.
TES ee RI eg nO ey

Seas Chat there or here?

eu aas

   
 

s rasan,
faeneme: eepe
a a>)

Pherae ne

     

Lay: if vniiten Rank an hit moa

 

 

Felco aaa

Hey, if you're back on hit me
up on Snapchat. We need to
get together tonight

:

et Cool. It's been awhile

''m meeting someon

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 7 of 60 PagelD #: 31

May | ask who he is

How old is he?

Oh, | probably wouldn't
want to do that anyway. Not

my type

Tell him something came up
and let me come instead, lol

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 8 of 60 PagelD #: 314

| wanted to last time,
But weren't sure if you'd
want it

Ok. | can't really chase a lot
of pics RN

Still chat on snap, or just
wait till later?

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 9 of 60 PagelD #: 315

mea Definitely
een

Haha ok we are gonna have
} sex everywhere down stairs.

old ee

I'm gonna eat dinner. I'll be
back in a few

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 10 of 60 PagelD #: 316

 

\'m done eating so we can
chat some

Like what? Can you send
| pics

lee |'ve got a fleshlight
What is that Ji
See Hold on and I'll take a pic

     

| PIO OF AND 1h Take &@ prc

  
   
 
 
      

Ns re
~~ nen . ee enn,
tee, = ae
ib iets ES = aes é i
nee Anything else aa
Bec hoe ja se Te a ; :
vil That would be fun though. eee
i aa ira

 
 

And yeah. | saw a vid of 2
guys using one at the same
time

IO ee ol Dee ie a nit al
Case 3:15-cr-00083-DJH

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| got a question, would you
be interested in adding a 3rd
sometime?

ay

ot

know you'd want anothe
like me, but | want another
young guy lol

PS

m@ He aotiallh: aantactad

t

He actually contacted me
after you did. Hold on

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 12 of 60 PagelD #: 318

So he would do you and you
do me?

Or we could both blow him
or rim him while we fuck

Can you send some pics |
can give to him?

You would need to pick him
| up so there aren't two cars
J outside

| Dan't vai have same

piatitad Nope, they all deleted on
here

Ok hold on

bo oe te

Da voi have a fare vet far

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 13 of 60 PagelD #: 319

rye) d |i

I'm getting face from him
now. Can | show him you?

Nal a] pd

We've met up before. He's
better in person | think. But
he might not be your type

So are you home alone
tonight or something?

Just wondering, lol

 
Case 3:15-cr-00083-DJH

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Ras mae es

ry

Maybe we can do
something with a guy
another time. I'm picking
you over him

Mid 20s would be ok. But a
smooth guy hopefully

You have pics now?

Just us then | guess

Pe cee na Sear ata Ba at Te a aa ae

a

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 15 of 60 PagelD #: 321

That's what | mean. You're
not worried about us being
in the open in the basement

We should try though. And
yeah | want to record

You should meet me at the
door in only your undies

Around 12 again?

Ok. I'l come as late as
needed lol

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 16 of 60 PagelD #: 322

oe een ee
— a

rt 8) 6] iy

Ok. I'll come as late as
needed lol

| know, but | thought it be
much longer till we did it
again

So I'm excited now too

So | need to get you while |
can

Well I'll come in and we
make out first and | want to
feel all over you while we
suck face

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 17 of 60 PagelD #: 323

Do we even go to your
room, or do you want to do
oral and let me run you
again outside?

Then You can ride me on
that couch

Then we move to a wall and
| fuck you from behind

Then we move to your room
and fuck till we make each
other cum

I'll set my phone somewhere
to film is

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 18 of 60 PagelD #: 324

meee And Patrick

“1

; mee
Beery

iLO hee al oat . i 2

Pg
Ue ts i

When you're not at that
house, where are you?

Reema Where is that?
ame Butstil =|

 

   

 

Cool. Mind if | ask where
you go to school?

 
 
 

 

That's to personal. In still
closeted still

   
 

   

rea

  
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 19 of 60 PagelD #: 325

Ne) ¢| 4

m No step brother tonight
either | guess

So the place you are now is
your aunts house?

@ | think you liked the rimming
though

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 20 of 60 PagelD #: 326

Beek ia +
Soe ee Bi ies
Se, sa
= — rhe Tie
tee Soa Se
eT a
ta CRY: Wa, -...

Can't wait *%

Me either &
Seems Make sure that ass is nice
and clean forme 2 2 2s

os Bow cay)
1 willl!

What kind of undies can |

av

expect to see?

eae
idk maybe nine at all aaa
‘none ae

No you should wear some. |
kinda have a thing for hot
guys in boxer briefs

 

    

It'll be all over you soon |
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 21 of 60 PagelD #: 327

  

 

   
      
 
    
  
    

  

 
 

4
It'll be ali over you soon | |
= hope _
Pe a eo me
j es tai. : ee "
| ics "edie z
Le ie ne Sos
‘ os iS eee “Mies |
ig in fi =
Sr. Awesome. Be there in like See
5s 25-30 ae
=". 6. ee
s a i
|
Pe
Le
i Recs Cool. I'll let you know when —
¢ ao
ar oe I'm close

Bring your toy iia

4

 

 
 

Can you bring multiple
| condoms just incase we
stop then want to start again

 
 

    
 
     

Pe\eid] Bs)

me | brought 2 but forgot the
toy
It's okay. How long have you |
been gone?

Tee | Cause |'m so so ready
Left or you've been gone??

At the school
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 22 of 60 PagelD #: 328

rasa

At the school

Neighborhood

Street

Can we get together
tonight?

Damn lol

It was so hot last time. |
loved how much | made you

Next time I'm going to lick it
off you. Maybe even take a
facial myself

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 23 of 60 PagelD #: 329

reve] ais)

When will you be back at
your aunts?

Can | ask why you
sometimes stay there? | you
don't want to say it cool

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 24 of 60 PagelD #: 330

 

CR ads

 
Case 3:15-cr-00083-DJH

   

‘| have no ide

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a maybe next

Any idea when you'll be
back at your aunts?

vaso)

EN)

| don't have any more pics
«>. But | can't wait to do
something again

And I'll think about the
leather stuff “=

      
     

Page 25 of 60 PagelD #: 331

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 26 of 60 PagelD #: 332

Ry
leather stu

LY fe hae)
Nae St Sean ee

Nope. But | can bring the
onel have =

Epee ene

| was worried you might not
be back on, lol

Do you want me too

That's ok

It's an only pic. Using it as
motivation to get back to it

lol

Damn autocorrect lol

eet
ones

:

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 27 of 60 PagelD #: 333

Do | still get to bury my face
in your ass

We gonna be on the
couches or your bed
Fae

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 28 of 60 PagelD #: 334

        
 
    
   
  

t
i

 

 

Ts oe
— a ldc how late it is lol Seles et
ee i Just want to come and have -

ae Bere i nds some fun

i want you to

 

  
   
  

SO, are you gonna sit on my
lap while we watch the vids?

      

Why not?

a Ee =e ie That's what | want

Chala wea mala mara?

—— 7 ers
ten, ey
~ Pe, Eo 4
ar Se Z Pa
aa ies, ;

Only if you want. But | want
you to take one of you
| ducking me

esas That's fine by me °

Maybe try to video rimming
you too?

a aR eee 4a
9 Se a ae i Sen
Should we make more? SS
oh Bes $6 od) : oon i
a :

      
 
 
      
 
 
   

4 as Co)

  
    
  
 

i etom oal\1)

Mmmm
Bs fot od

It's gonna be so hot

stom oli)

I'm super pumped

i} ; i
f

wor

i

i
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 29 of 60 PagelD #: 335

 

 
     
   
 
 
  

  
 
  
 
  

be ee Fae ing around J!
a | Laying

Pies, rs ae i oe Ba

 

Peele a ci

es SS ee el Haha make sure you bring
Ee
; eR tee is 1 eee ail

i

se 36 a V3

 

a
| will. Will you have some
—~ | towels? | want to be able to
wipe the lube off our cocks
in case we want to keep

* err eT egg OE SES TS
“hg |
a ey, =a

ies ie te

ne

wc, Fete.

    
 
  

= in case wie want to keep See)
j re ‘ : ne...
he , sucking after we use it ae nee
< tices «

  
 
   
 
 

! et. age i a ~~,“ mS |
' "A ices ~ en
ig ee = ; : ae se cg, itm, on
ee I'm not sure yet, but | might ~~. iets
| a ; : ee. Wn,
bi. rene ee want a facial from you this te i
Oe - er whi
rig fae time a a
One ie i... » ren
af a eee ied’: ts

In pretty sure | want to lick Pr sn ee me

     
  

. vine —
a up some of your cum eae
i
e ee
agin, a Ms *
~~ : —
owe Ste

Maybe | can make you cum
as much as last time

    
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 30 of 60 PagelD #: 336

Maybe I'll leave at like 12:15.
Not sure I'll be able to drive
slowly when | get on the
road

like, as long as we
a little bit of light? Maybe —
just the phone flashlight?

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 31 of 60 PagelD #: 337

Idk if | can bring all those.
The toy, lube, mouthwash
it's a lot to bring

| only really have plastic

bags, and that might be too
laid

 

Let me see

Ok. | think it'll work

I'm leaving. Let you k ow

when I'm near you're street.
Will you flash in the window
just so | know it's still good?

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 32 of 60 PagelD #: 338

   
 
     
    
 
   
    
 
    
    

es | Will do

  

|

That ass gonna be nice and
clean for me

  

ll Close. Neighborhood

 

  

  

 
      
 

a | was watching the vid from 4
ia s: ee Friday, did you have
a Pm something drawn on your Pte
— arm? at,
nes, :
:
Mbipio’ =. “aw,
te. ee, How'd | miss that | person
heey

lol

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 33 of 60 PagelD #: 339

Hitt

4 -

#

j

}

Sh

| only wish you hadn't cum
in the toy

| wanted to make you cum
on yourself so | could lick it
off

That'll have to wait till
Thursday

Emam

a Thursday?

| That's the next time l'ibe at [Ji
my aunts
eee just Thursday night, or
Friday too
Meee Still on?

Meee Hopefully you'll be back by
then lol

ea ea

ie Hey | was at school. And Ji
A maybe switched to Friday

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 34 of 60 PagelD #: 340

re Bs

    

tapes fl oY a3
Love the pics

EWA)

 
    
   
 
   
  

      
 
 

a , If | don't catch you during
‘ St el the day, I'll bé cal on around
ae al 7 Thursday night
wee 2 . a : re | Hols) Hey Ee eee
erecta REE Hey dude | have finals oye se
ea

tomorrow and can't stay up

  
    
   
    
   

Ese ea a meme Good, cause | couldn't
come tonight either. Gotta

 

gevupreany

  

wel ctlaien i! : ety an d , ee
ae ae a —_ | Okay haha works for both of ie Se
ee rs + tee us gg |
IE sien ene, SP “ Wet, Sc
emhvine edt See, ee hia nally) Ss ern,
ie << fame Yup. You gonna be there a

   
 
  
 
 
       

tomorrow? ; =
ei) yi Sy 1 Tiny = i OO Ya ot | 5 : nig rN, es 4
an Nope oo

> ‘ a. es i i ; 5 ti ra
‘ yaaa oes = —
. Damn! .

 

  

pa ee re ce otra Lol | i eee
Coe aes,
So etine ee a Tee aot) ; eee ales |
a, Sorry ; Dray
ro Pte aS nti . a PR ee ay
5 ee ~ ens sea ‘ ; a a
— eat i. a It's ok. Those pics were on
ce great btw ta
os : ae -~ tA
e REE re, us

  

eas Can you send me
Inline oan screenshots
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 35 of 60 PagelD #: 341

 

You came pretty early
remember

| would have. You should
nave told me to

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 36 of 60 PagelD #:

VE FORD ITT

Cause | wanted to lick that
cum off you

But | always make you cum
too soon

| think next time I’m gonna
park out of the lamp post
light. That always makes me
kinda nervous

You know how | park by the
tree and there's that lamp
post? I'd rather park down
the street a bit where it
darker

It probably doesn't matter,
just sayin

Think you ever be able
to drive to my place?

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 37 of 60 PagelD #: 343

a

ee ee eed

Cause then you wouldn't
have to be so quiet
| need to get some sleep.

Hopefully we can do
something again soon

Next time you're on just let
me know if you'll be back at
your aunts

I'm going out of town for the
weekend, so it's a good time
lol

| won't be on here, can you
message me on snapchat?
I'm justhavingfun_7

Idk when I'll be home, but |
definitely want to come

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 38 of 60 PagelD #: 344

     
   

ava
| Why don't you justride
over? And not go home?

oe ao feeee Justhaving_fun7

Just added you /—aai

     
       
   
        

 

pet Wa od is

Dude a

   

 

 
 
 
 

lf you're back on | still want
to come

  

  
    
  
 

| just couldn't get on often
enough. It would have been
weird

eum) | wish we could do
something today

Sorry | can't ii

  

 
   
   
  

   
 
 
    

ae oe i :
een

 
 

Hopefully the next time
i | vou're there
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 39 of 60 PagelD #: 345

 

NopPSry Wie MEAL LTS
you're there

1 Gio 7

Still on?

Just lerkin &

ss Me too

You at home?

Yea not at my aunts

WE Ware)

Se Not right now lol

bea My friends are passed out
haha

es. 4 TAY)
_ ; Why not?

— eS
<< Are you with gay friends

1 bee a oa
ae No |

besa oa Don't really have any gay
friends

:

Meee hh. It's ok

I'm not out so its cool

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 40 of 60 PagelD #: 346

 

I'm not out so its cool

“s WE eee
-{9MD | fort got your not out i

ae | forget, are you out

Ml Didn't think so

That's good for both of us |
guess

Unvin winan Annan aniithinn

 

 

   

  
      
   
 
   
   
  
   

   

  

F oo
ets re
~~ *— >

Tin ~ 5
on * : nents sie =
ie Seas Have you done anything a - *
i with any one besides me oe =
a lately
cama No i'm aloser iol woy?
Who??-Send pics @
me Only have one i
en ee,
Pes r Stag
Qk? Send ae, |
Teg.
a
ee en | snuck that pic after we
i. - 2 ee finiohad
oe a 7 ae
ais heat a
~- rie _
i sag
Rae et
fey i -
tr or a en ~~
~~ aaah ada “s
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 41 of 60 PagelD #: 347

 

| have one, it’s the guy | was
telling you about a while ago

This was the second time
we've done something

Hold on. Let me see if | can
find it

meee | ooks like it, haha

But he's at 19. | know for
sure

ae Want to hear what happens

Happened

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 42 of 60 PagelD #: 348

So he messaged me on
Wednesday about hooking
up. We did it but only oral
and jerk off. He said he was
super horny and wanted me
to fuck him. | worked my
schedule to have time
during lunch. He came to my
house and we sucked each
other for a bit, then he said
he wanted to ride me. He
hoped on and we fucked
while | jerked him off. After
about 10 minutes he shot a
huge load all over me. After
that he jerked me till | came
too

It was a blast lol

 

 
     

It was a blast lol

He's not really into making
out, which | like

    
 
 

 
 

Who was the last guy =
besides me you were with? i hee. ee,

  
 
 
 

  

meee How did that happen?

tN areas)

  
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 43 of 60 PagelD #:

How do | get you to my
house lol

EW eras)

Am | gonna get to fuck you
next time | hope?

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16

When are you gonna come
to my house so we can be
loud?

Wu

You graduated? Or will be a
senior?

Think you'll ever get a car so
you can drive here?

Would there be a chance
that | drive you back here?
You could blow me while we
drive -=

| mean like during the day or
methina «list thrawina

Page 44 of 60 PagelD #: 350

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 45 of 60 PagelD #: 351

You need to spend the night
at your aunts again soon
though, lol

No, | was at a party and
couldn't talk at the time. |

 
Page 46 of 60 PagelD #: 352 .

Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16

| know. Me too

That's why | could t be on
much that night

Did you think | didn't want
to?

Then when | was done you
weren't there 3°

| remember one time you~
were really tired, but | came
and kept you wide awake

 
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 47 of 60 PagelD #: 353

    
  
     
   
 
  

jaiiiiieiaiiiaiiaaaaaa aa i ammmennces
hemes a i i
bee Wa owe ~—
frome ~

ies ail ewes i

mie

be ey SE ag
a Like that?

ee

 

  

ron Send me some pics back
iia then
We die.

 

= Fe
=
oe
he SS

Brice

EV eras!

Those both need my mouth
i} | Yea they do

And one needs something
else

 
       

  
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 48 of 60 PagelD #: 354

     
    
 
      
   
 
    
     

  

  

We 7 ’
én
We Pliny
Pei tices One day your gonna be able © x es)
i es to moan so loud while I'm io = <i
eee oa pounding that sweet ass
gag Se ange, Oe me =
& 3 Pit... 3 * = =a
’ here Mii a
oe ees ae Till then, you just have to 2 A s :
TAY ‘ae. ‘ Pri :
ea control yourself in the So. nee
See basement .
‘ a bet ad : “~
sr Still there? me
eee ag Sop ST) Oe cet
en ao : ,
Ve zm Tax,
Li, Hope you're at your aunts =
fr ra neey
ne * bemialsh Iinnnal eas) i
ne = 7 fie
rn. ae,
Bin ae =

a sky e at\
tonight. | need a bday
present

So sorry not this weekend

More of a hope than
anything lol

   
 

  

   
   
    
  

 

    
  
 

It's ok. You'll just have to
give me a belated present

it'll be a great one, but

when's your birthday btw

  
  
   
  
 

  

Ata

  
   

     
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 49 of 60 PagelD #: 355

 

    
 

a a ad)

ing down

Meee |'m just on the couch

Lay

       
   
 
      

a, = |
Way to many ciothes on - a
: * ee
in, tg
” Patna 3.
hee Sr es
ee, se Ten
a Pst es ey
in
Peta Hbu? Show me where you ea, ea
——s = a bay
OR cae are =

What are vou wearina

  

 
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WY Vara)

What are you wearing
= That's too much too

Pj pants

~ eso
™ i
i

ais S, = : :
Bet Well we better start stripping

See | ol. You first this time
pee ats

i

mee You know | love undies right

  

 
 
   

 

en.

   
 
 

.

   

<r gh
ete ete
ie re x ag:

; 1 You know | love undies right

Yea | do and you know | love
g dick right w/ hairy chests

And really hairy everything Ja

   

eR wns ie. + i + ie
og a > The pic won't load &

—
— Pottrow ove uncies rant

  

sy Trying another one

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If only you could be

Bee Ree

| need some
good birthday sex lol

ies eet bas i

But mainly that ass!

You mean hookup with
another guy and send to

We need to have a
threesome sometime

 
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Idk! I'm sure we can find
someone

Might be easier when you
can drive to me

Yeah. Maybe next winter
break

Can | be completely honest
with you and trust you? |

Bb he Pe ee Fl hh bet ee be

The reason | was so
interested in you and that
teacher fucking...

Well l'm a teacher too

Just like | don't really need
to know where

you go to school. As long as
it's not in Jefferson Co

WW Nae)

 
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_ Ry
we. i :
we - 7 oN =
~~ % he <= ~s
in Nia : see Ne = 3 =
—. | figured you're in one of the se : :
~ Oldham schools i ge iets
to ~~, Yea tol La

 

Mahe wt

linia er nas, v i ew)
Rees ieee Fuck me

' rial si ee eee i

a a te Ae = ae oes a =—= = =

me. en
~ enim a a sei”
les, on,
— i:
ieee Shee =: , — re
ne ne ei one, ine Sy
an wa: ee, “ae boc m. e ts |
a =e, ve Devas) i “ae Se
Se Se ne Of course nen tt ene
tlie er “ ; ; PS Rina a ~~
~ - = in b " ~ —
~ : sie of 4 ten a ne, —
~nP eer)? ~ a ~ aa Sin Sen
. es Send me more ~. f — SS
oo atin ee aoe
: ~ ~~ a a - pee. ata “Sa,
a. a / ae . he
2 ; ~~ ae inane ~~
weg - =e me ites:
. nea P ae. “ = = ia ;
: = ve] - Pn - |
~ : — rt i a —
" ee, — ay nn
Perr So “s
Paes | oy
; — ~
—,.
Se ee
' eR aang
f rs 3
ts Fe -
: Instant hard on?
rte a HO, a,
a Se eae
—S.
asp eS Trig
Case 3:15-cr-00083-DJH Document 29-4 Filed 01/01/16 Page 54 of 60 PagelD #: 360

Is it a turn on that i'm a
teacher too

That would be kinda
awkward wouldn't it

| mean sitting in class
together

You'd have to try and be not
so obvious that | eat your
ass so well -

And that | make you shoot a
hot load of cum all over the
place

| mean you'd have to be
able to control yourself
around me haha

 
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% = a,
ro egal
o VEN ael®) : :
Bey i... S
Would be a challenge | Se

  
 

PA | ;
Send me another in

  
  

: Cee [Pic A
2
j
; ny
_ ew;
Ci
Pires Rae
orig eg "s
Shag, ties
* nate:
tie
= re Yee ee,
nate

  
     
 

       
   

We ae Sha, i

nies, “ = Sy

WEN EL ™ oi 3 ee

i You send a dick now . 7 =

° = _ + ~ i

NO I'd come and fuck you in te coe

tes ten “2 that shower "= a ———e
Ai Pr aia eels x 7 a a

? *~ mV ie ' : + aa : “ ~ me

: ~~ I'd love that a

- - : Pan =

 

    
      

ie > Hey | got to go but | might .

Poe gary fy
| . | } F
.

{

eee i

?

r
We Peale

 
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LYE Ware a

   
 
     

What's up

   
  

Raya

Nothin much

Heading to a graduation
party in a bit

    
 
 
     
   

One of my students > _ a,
= "ince
7 . Oe
* 4
This is like the third one Men, en tn
SL haha . So

ele Have you all graduated yet? — ~ cere oe

       

ie si
ee ~
“Se,
bate, wt
“es
rt,
f
hte
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This ones still on the Jeff.
Co, side of 265

 
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x
I'll be back on tonight. Bye

ee How was the party
We ended up not going i

    
    

 
 

Yea so | am so horny and
= Se a really want your cock in my

5 Po a ag

  
   
   

Next time | see you you
need to walk in without a

hoanar en ll ran cuck unis ta

 

 
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Bi eisi)

" = You need to head to your
aunts —
ia

Haha | wish | could daddy
im it'll be tough

| believe in you daddy fl

You'll have to start sucking
me immediately

*
eg

 

As soon as we start making
out

Mm I'm okay with that _

 

 
   
 
   

  

| mean if we make out first
I'll be hard lol. Maybe 1'll
come commando and just

   
      
    
   

  

es drop at the door on
: : = = Wahine, a Se
age : - ieee, os ee
= Do-that it would be so hot Ce see ~.
= eo tae i Bee en oe a
ae Whe | know better than to expect ; tas
% ~, athe : i ~ ae ee
ee a you to not be hard ea a
Se i i '
\enelipstiteg es . a = : oS Oi
os Re Ne es
Ee Trent = —_ ~ ;
“oto, ee ee ee a 2
ae. Tiling ~
Rae ie. Stee a

I'd be ok with that

And thon mawo intn the
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Proll

| know haha
I've done that before

Watching Texas Rising

Avatar)

 
